Case 1:22-cv-00252-MSG Document 129 Filed 08/29/23 Page 1 of 16 PageID #: 1642




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 ARBUTUS BIOPHARMA CORPORATION
 and GENEVANT SCIENCES GmbH,

                Plaintiffs,

        v.

 MODERNA, INC. and MODERNATX, INC.,

                Defendants.
                                                         C.A. No. 22-252-MSG

 MODERNA, INC. and MODERNATX, INC.,

                Counterclaim-Plaintiffs,

        v.

 ARBUTUS BIOPHARMA CORPORATION
 and GENEVANT SCIENCES GmbH,

                Counterclaim-Defendants.


                         JOINT CLAIM CONSTRUCTION CHART

       Pursuant to the Court’s March 21, 2023 Scheduling Order as amended, see, e.g., D.I. 72

and D.I. 109, Plaintiffs Arbutus Biopharma Corporation and Genevant Sciences GmbH

(“Plaintiffs”) and Defendants Moderna, Inc. and ModernaTX, Inc. (“Defendants”) have met and

conferred, and present the following Joint Claim Construction Chart for the terms in dispute for

the six patents that Plaintiffs have asserted Defendants infringe: U.S. Patent Nos. 8,058,069 (the

“’069 patent”); 8,492,359 (the “’359 patent”); 8,822,668 (the “’668 patent”); 9,364,435 (the “’435




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patent”); 9,504,651 (the “’651 Patent”); and 11,141,378 (the “’378 patent”). 1

       The appended charts below identify the parties’ proposed constructions for the disputed

claim terms and the parties’ identification of intrinsic evidence in support of their proposed

constructions. Each party reserves the right to supplement the charts below with additional

evidence and to rely upon additional intrinsic evidence and/or extrinsic evidence in its claim

construction briefs to respond to or rebut evidence and arguments made by another party, and to

rely upon another party’s intrinsic evidence.

       The parties have agreed to defer resolution of issues of indefiniteness until later in the

litigation unless otherwise instructed by the Court. Defendants do not waive and instead expressly

reserve their right to argue at the appropriate time, including, but not limited to, during expert

discovery, summary judgment, and/or at trial, that any proposed and non-proposed terms found in

specific claims are indefinite, are not enabled, or otherwise lack sufficient support in the

specification. Plaintiffs disagree with Moderna’s approach of seeking construction for some terms

now, while reserving the right to argue indefiniteness for those same terms at a later date (even

under Moderna’s proposed construction). Plaintiffs reserve all rights to defend against all such

allegations whenever raised, including on the basis of waiver.




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  Throughout this document, to the extent a disclosure is cited in the ’069, ’359, ’668, ’435, or
’378 patents, the equivalent disclosures in the other patents are also incorporated herein.


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Dated: August 29, 2023                     Respectfully submitted,

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Biopharma Corporation




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    “wherein at least 70% / at least 80% / about 90% of the mRNA in the formulation is fully encapsulated in the lipid vesicles” /
                                                        “fully encapsulated”
                                                   (’651 Patent, Claims 1, 13, 14)

             Plaintiffs’ Proposal & Intrinsic Evidence 2                       Defendants’ Proposal & Intrinsic Evidence
    “wherein at least 70% / at least 80% / about 90% of the mRNA “fully, as distinct from partially, encapsulated”
    in the formulation is contained inside the lipid vesicles”
                                                                                            Intrinsic Evidence:
                          Intrinsic Evidence:                    ’651 patent at Title; Abstract; 1:34-43; 2:3-8; 2:13-67; 5:30-40; 5:59-
                                                                 62; 8:5-12; 9:35-51; 10:54-11:2; all claims; Examples 1–8; all refs
    ’651 Patent, 1:19-2:8, 2:13-67, 3:17-35, 5:30-5:44, 5:56-62, incorporated by reference
    8:5-13, 6:13-19, 9:20-51, 12:57-13:2, 14:13-15:15, 15:19-56,
    16:25-17:25, 17:54-18:2, 18:29-42, 18:67-19:2, Figs. 5-11    ’651 patent FH:
    U.S. Patent Application No. 14/304,578, Specification (June • 06/13/2014 App.
    13, 2014)                                                    • 08/14/2014 Non-Final Rejection
                                                                 • 10/22/2014 Office Action Resp. and Affidavit
    U.S. Patent Application No. 14/304,578, Claims (June 13, • 02/13/2015 Non-Final Rejection
    2014)
                                                                 • 05/12/2015 Office Action Resp. and Affidavit
    U.S. Patent Application No. 14/304,578, Non-Final Rejection • 06/19/2015 Final Rejection
    (Aug. 14, 2014)                                              • 08/18/2015 RCE and Amendment
                                                                 • 10/09/2015 Non-Final Rejection
    U.S. Patent Application No. 14/304,578, Response to Office • 12/14/2015 Office Action Resp. and Affidavit
    Action (Oct. 22, 2014)
                                                                 • 04/15/2016 Final Rejection
    U.S. Patent Application No. 14/304,578, Declaration of James • 05/19/2016 Office Action Resp. and Affidavit
    Heyes, Ph.D. (Oct. 22, 2014)                                 • 10/03/2016 Non-Final Rejection
                                                                 • 10/19/2016 Notice of Allowance
    U.S. Patent Application No. 14/304,578, Third Party
    Submission (Jan. 5, 2015)                                    App. 10/611,274 FH:
                                                                     •       11/17/2010 Notice of Allowance


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    In providing the following disclosures, Plaintiffs do not admit the status of any cited reference as intrinsic evidence.



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“wherein at least 70% / at least 80% / about 90% of the mRNA in the formulation is fully encapsulated in the lipid vesicles” /
                                                    “fully encapsulated”
                                               (’651 Patent, Claims 1, 13, 14)

        Plaintiffs’ Proposal & Intrinsic Evidence 2                      Defendants’ Proposal & Intrinsic Evidence
U.S. Patent Application No. 14/304,578, Non-Final Rejection • 05/11/2010 Affidavit
(Feb. 13, 2015)                                              • 05/11/2010 Office Action Resp.
                                                             • 12/11/2009 Non-Final Rejection
U.S. Patent Application No. 14/304,578, Response to Office
Action (May 12, 2015)
                                                             Prov. App. No. 60/392,887
U.S. Patent Application No. 14/304,578, Declaration of James
Heyes, Ph.D. (May 12, 2015)

U.S. Patent Application No. 14/304,578, Final Rejection
(June 19, 2015)

U.S. Patent Application No. 14/304,578, Response to Office
Action (Aug. 18, 2015)

U.S. Patent Application No. 14/304,578, Non-Final Rejection
(Oct. 9, 2015)

U.S. Patent Application No. 14/304,578, Response to Office
Action (Dec. 14, 2015)

U.S. Patent Application No. 14/304,578, Declaration of James
Heyes, Ph.D. (Dec. 14, 2015)

U.S. Patent Application No. 14/304,578, Final Rejection
(Apr. 15, 2016)

U.S. Patent Application No. 14/304,578, Response to Office
Action (May 19, 2016)




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“wherein at least 70% / at least 80% / about 90% of the mRNA in the formulation is fully encapsulated in the lipid vesicles” /
                                                    “fully encapsulated”
                                               (’651 Patent, Claims 1, 13, 14)

        Plaintiffs’ Proposal & Intrinsic Evidence 2                     Defendants’ Proposal & Intrinsic Evidence
U.S. Patent Application No. 14/304,578, Declaration of James
Heyes, Ph.D. (May 19, 2016)

U.S. Patent Application No. 14/304,578, Non-Final Rejection
(Oct. 3, 2016)

U.S. Patent Application No. 14/304,578, Notice of
Allowability (Oct. 19, 2016)

US Application No. 13/684,066, Response to Office Action
(Jan. 7, 2016)

US Application No. 13/684,066, Final Rejection (May 3,
2016)

U.S. Application No. 10/611,274, Response to Office Action
(July 24, 2007)

U.S. Application No. 10/611,274, Non-Final Rejection (Oct.
4, 2007)

U.S. Application No. 10/611,274, Response to Office Action
(Apr. 4, 2008)

U.S. Application No. 10/611,274, Examiner Interview
Summary (June 2, 2009)

U.S. Application No. 10/611,274, Response to Office Action
(June 5, 2009)




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“wherein at least 70% / at least 80% / about 90% of the mRNA in the formulation is fully encapsulated in the lipid vesicles” /
                                                    “fully encapsulated”
                                               (’651 Patent, Claims 1, 13, 14)

        Plaintiffs’ Proposal & Intrinsic Evidence 2                     Defendants’ Proposal & Intrinsic Evidence
U.S. Application No. 10/611,274, Non-Final Rejection (Aug.
18, 2009)

U.S. Application No. 10/611,274, Response to Office Action
(May 11, 2010)

U.S. Application No. 10/611,274, Declaration of Dr. Jeffrey
J. Wheeler (May 11, 2010)

U.S. Application No. 10/611,274, Response to Office Action
(Aug. 6, 2010)

WO 00/003683

WO 00/062813

WO 02/087541

WO 05/007196

WO 98/051278

WO 02/034236

WO 05/026372

U.S. Patent No. 7,803,397

U.S. Patent No. 6,734,171

Heyes et al., Cationic lipid saturation influences intracellular


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“wherein at least 70% / at least 80% / about 90% of the mRNA in the formulation is fully encapsulated in the lipid vesicles” /
                                                    “fully encapsulated”
                                               (’651 Patent, Claims 1, 13, 14)

         Plaintiffs’ Proposal & Intrinsic Evidence 2                    Defendants’ Proposal & Intrinsic Evidence
delivery of encapsulated nucleic acids, 107 Journal of
Controlled Release 276-287 (2005)

Spagnou, S. et al., Lipidic Carriers of siRNA: Differences in
the Formulation, Cellular Uptake, and Delivery with Plasmid
DNA, 43 Biochemistry 13348-13356 (2004)

Gershon et al, Mode of Formation and Structural Features of
DNA–Cationic Liposome Complexes Used for Transfection,
32 Biochemistry 6143-7151 (1993)

Jeffs et al. A Scalable, Extrusion-Free Method for Efficient
Liposomal Encapsulation of Plasmid DNA, 22
Pharmaceutical Research 362-372 (2005).

Maclachlan, Liposomal Formulations for Nucleic Acid
Delivery, ANTISENSE DRUG TECHNOLOGIES (2d Ed.) 237-270
(2007)




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                                              “mol % of the total lipid present in the particle”
    (’069 Patent, Claims 1, 8, 15, 20, 21; ’359 Patent, Claims 1, 7, 9, 10, 11, 12, 13, 18, 19; ’668 Patent, Claims 1, 8, 10, 15; ’435 Patent,
                                         Claims 1, 4, 7, 8; ’378 Patent, Claims 1, 2, 7, 13, 18, 24, 25)

             Plaintiffs’ Proposal & Intrinsic Evidence 3                        Defendants’ Proposal & Intrinsic Evidence
    Plain and ordinary meaning, i.e., “mol % of the total lipid       “__ mol % of the total lipid present in the finished lipid particle”
    present in the particle”
                                                                  Where the asserted claims do not recite “about __ mol %,” Moderna
    The recited “mol %” ranges are understood to encompass their contends that the recited “__mol%” ranges are understood as the
    standard variation based on the number of significant figures exact ranges recited in the claim.
    recited in the claim.
                                                                                           Intrinsic Evidence:
                          Intrinsic Evidence:                     ’069 patent, Claims 1, 8, 14, 15, 20, 21
                                                                  ’359 patent, Claims 1, 7, 9, 10, 11, 12, 13, 18, 19
    ’378 patent, 3:36-4:17, 4:38-5:67, 6:4-49, 11:42-12:19,       ’668 patent, Claims 1, 8, 10, 15
    13:20-39, 14:50-64, 15:35-49, 16:25-40, 16:65-17:3, 18:4-     ’435 patent, Claims 1, 4, 7, 8, 12
    20, 18:21-23:29, 24:52-25:62, 30:7-67, 48:30-62:27, 63:6-     ’378 patent, Claims 1, 2, 7, 13, 18, 24, 25, 29
    64:3, 70:1-88:10, claims 2, 7, 13, 18, 24, 25, 29, Figs. 1-22
                                                                  ’069 patent:
    ’069 patent, claims 1, 8, 14, 15, 20, 21                      Title; Abstract; 2:65-3:56; 5:44-6:3; 11:13-36; 14:12-26; 18:40-
                                                                  19:8; 19:39-21:42; 22:30-42; 23:61-24:67; 49:56-62; 50:55-51:40;
    ’359 patent, claims 1, 7, 9, 10, 11, 12, 13, 18, 19           57:11-23; 57:47-60:44; 68:13-48; Tables 2, 4, 6, 7; 76:54-77:13;
                                                                  80:19-45; Examples 1 to 11; all refs incorporated by reference.
    ’668 patent, claims 1, 8, 10, 15
                                                                  Prov. App. No. 61/045,228
    ’435 patent, claims 1, 4, 7, 8, 12
                                                                  IPR2018-00739, Papers 2, 12, 15, 24, 28, 34, 41, 49, 50, 51, 55, Exs.
    U.S. Patent Application No. 17/227,802, Claims (Apr. 12,      1007, 1019, 1020, 1021, 1022, 2009, 2028, 2040; Appeal Briefing
    2021)                                                         and Opinion

    U.S. Patent Application No. 17/227,802, Non-Final                 IPR2019-00554, Papers 1, 7, 8, 15, 21, 30, 39, 40, Exs. 1008, 1020,
    Rejection (June 14, 2021)                                         1025, 2001, 2002, 2003, 2004, 2005, 2006, 2028, 2030, 2031, 2033,
                                                                      2043; Appeal Briefing and Opinion

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    In providing the following disclosures, Plaintiffs do not admit the status of any cited reference as intrinsic evidence.



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                                          “mol % of the total lipid present in the particle”
(’069 Patent, Claims 1, 8, 15, 20, 21; ’359 Patent, Claims 1, 7, 9, 10, 11, 12, 13, 18, 19; ’668 Patent, Claims 1, 8, 10, 15; ’435 Patent,
                                     Claims 1, 4, 7, 8; ’378 Patent, Claims 1, 2, 7, 13, 18, 24, 25)

        Plaintiffs’ Proposal & Intrinsic Evidence 3                           Defendants’ Proposal & Intrinsic Evidence
U.S. Patent Application No. 17/227,802, Interview Summary
(Aug. 9, 2021)                                             ’069 patent FH:
                                                           • Application (Apr. 15, 2009)
U.S. Patent Application No. 17/227,802, Response to Office • Preliminary Amdt. (Nov. 12, 2009)
Action (Aug. 20, 2021)                                     • Preliminary Amdt. (Feb. 3, 2010)
                                                           • Amdt. & Resp., Claims (June 1, 2010)
U.S. Application No. 12/424,367, Claims (June 1, 2010)     • Non-Final Rejection (July 30, 2010)
                                                           • Amdt. & Resp., Claims (Jan. 31, 2011)
U.S. Application No. 12/424,367, Non-Final Rejection (July • Non-Final Rejection (May 12, 2011)
30, 2010)
                                                           • Amdt. & Resp., Claims (Aug. 11, 2011)
                                                           • Notice of Allowance (Sept. 12, 2011)
U.S. Application No. 12/424,367, Response to Office Action
(Jan. 31, 2011)
                                                           ’359 patent FH:
U.S. Application No. 12/424,367, Non-Final Rejection (May • App., Specification, Claims, Abstract, Drawings (Oct. 5, 2011)
12, 2011)                                                  • Preliminary Amdt., Remarks, Spec., Claims (Mar. 28, 2012)
                                                           • Supp. Amdt., Remarks, Specification (Mar. 13, 2013)
U.S. Application No. 12/424,367, Response to Office Action • Notice of Allowance (April 3, 2013)
(Aug. 11, 2011)
                                                           ’668 patent FH:
US 2006/0008910 (Jan. 12, 2006)                            • App., Specification, Claims, Abstract, Drawings (June 26, 2013)
                                                           • Preliminary Amdt., Remarks, Spec., Claims (Nov. 6, 2013)
US 2009/0291131 (Nov. 26, 2009)                            • Notice of Allowance (Jan. 9, 2014)
                                                           • Amdt. & Resp., Claims (Apr. 7, 2014)
US 7,799,565 (Sept 21, 2010)                               • Notice of Allowance (May 8, 2014)

US 7,807,815 (Oct. 5, 2010)                                       ’435 patent FH
                                                                  • App., Spec., Claims, Abstract, Drawings (Aug. 18, 2014)
A. Akinc et al, The Onpattro story and the clinical               • Preliminary Amdt., Applicant Remarks, Claims (Feb. 26, 2015)
translation of nanomedicines containing nucleic acid based        • Non-Final Rejection (Oct. 28, 2015)
                                                                  • Amdt. & Resp., Claims (Jan. 27, 2016)


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                                          “mol % of the total lipid present in the particle”
(’069 Patent, Claims 1, 8, 15, 20, 21; ’359 Patent, Claims 1, 7, 9, 10, 11, 12, 13, 18, 19; ’668 Patent, Claims 1, 8, 10, 15; ’435 Patent,
                                     Claims 1, 4, 7, 8; ’378 Patent, Claims 1, 2, 7, 13, 18, 24, 25)

        Plaintiffs’ Proposal & Intrinsic Evidence 3                           Defendants’ Proposal & Intrinsic Evidence
drugs, 14 Nature Nanotechnology 1084-1087 (December               •    Notice of Allowance (Feb. 23, 2016)
2019)
                                                                  ’378 patent FH:
Uyechi-O’Brien, L. & Szoka, F., Mechanisms for Cationic           • App., Spec., Claims, Abstract, Drawings (Apr. 12, 2021)
Lipids in Gene Transfer, PHARMACEUTICAL GENE DELIVERY             • Non-Final Rejection (June 14, 2021)
SYSTEMS, 83-86 (2003)                                             • Amdt. & Resp., Claims (Aug. 20, 2021)
                                                                  • Notice of Allowance (Aug. 30, 2021)
Ambegia, E. et al., Stabilized plasmid-lipid particles            • Interview (Aug. 3, 2021)
containing PEG-diacylglycerols exhibit extended circulation
lifetimes and tumor selective gene expression, 1669
Biochimica et Biophysica Acta 155-163 (2005)

Petition for Inter Partes Review of U.S. Patent No.
8,058,069, IPR2019-00554 (Jan. 9, 2019)

Petitioner’s Reply to Protiva’s Response, IPR2019-00554
(Mar. 2, 2020)

Declaration of Andrew S. Janoff, Ph.D. in Support of
Moderna Therapeutics, Inc.’s Petition for Inter Partes
Review of U.S. Patent No. 8,058,069, IPR2019-00554,
Exhibit 1008 (Jan. 2, 2019)

Declaration of Thomas J. Anchordoquy, Ph.D. in Support of
Petitioner’s Reply to Patent Owner’s Response, IPR2019-
00554, Exhibit 1020 (Mar. 2, 2020)

Petition for Inter Partes Review of U.S. Patent No.,
9,364,435, IPR2018-00739 (Mar. 5, 2018)

Patent Owner’s Response, IPR2018-00739 (Dec. 21, 2018)


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                                          “mol % of the total lipid present in the particle”
(’069 Patent, Claims 1, 8, 15, 20, 21; ’359 Patent, Claims 1, 7, 9, 10, 11, 12, 13, 18, 19; ’668 Patent, Claims 1, 8, 10, 15; ’435 Patent,
                                     Claims 1, 4, 7, 8; ’378 Patent, Claims 1, 2, 7, 13, 18, 24, 25)

         Plaintiffs’ Proposal & Intrinsic Evidence 3                          Defendants’ Proposal & Intrinsic Evidence

Petitioner’s Reply to Patent Owner Response, IPR2018-
00739 (Mar. 22, 2019)

Patent Owner’s Sur-Reply, IPR2018-00739 (Apr. 17, 2019)

Declaration of Andrew S. Janoff, Ph.D. in Support of
Moderna Therapeutics, Inc.’s Petition for Inter Partes Review
of U.S. Patent No. 9,364,435, IPR2018-00739, Exhibit 1007
(Mar. 5, 2018)

Declaration of Declaration of David H. Thompson, Ph.D. in
Support of Arbutus’s Opposition to Inter Partes Review of
U.S. Patent No. 9,364,435, IPR2018-00739, Exhibit 2004
(Dec. 21, 2018)

Final Written Decision, IPR2018-00739 (Sep. 11, 2019)

ModernaTX, Inc. v. Arbutus Biopharma Corp., 18 F.4th 1352
(Fed. Cir. 2021)




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                                           “a cationic lipid having a protonatable tertiary amine”
                                                             (’378 Patent, Claim 1)
                Plaintiffs’ Proposal & Intrinsic Evidence 4                          Defendants’ Proposal & Intrinsic Evidence
    Plain and ordinary meaning, i.e., “a cationic lipid having a             “a cationic lipid having a protonatable tertiary amine
    protonatable tertiary amine”                                             comprising 50 mol % or more of the total lipid present in the
                                                                             finished lipid particle”
                             Intrinsic Evidence:
                                                                             Moderna contends that the recited “__mol%” range is
    ’378 patent, 3:36-4:14, 4:38-5:67, 6:4-49, 13:20-39, 14:50-64,           understood as the exact range recited in the claim.
    15:35-49, 16:25-40, 16:65-17:3, 18:4-20, 18:21-23:29, 24:52-
    25:59, 30:7-67, 48:30-59:24, 70:1-88:10, claims 2, 7, 13, 18, 24,
                                                                                                    Intrinsic Evidence:
    25, 29, Figs. 1-22                                                       ’378 patent, at Title; Abstract; Claim 1
                                                                             3:36-4:14; 6:6-33; 11:42-12:7; 13:20-39; 14:55-64; 18:21-
    ’069 patent, claims 1, 8, 14, 15, 20, 21                                 19:65; 24:52-25:59; 48:32-51:33; 59:27-51; 70:1-47;
                                                                             Examples 1-11; all refs incorporated by reference
    ’359 patent, claims 1, 7, 9, 10, 11, 12, 13, 18, 19
                                                                             ’069 patent (intrinsic evidence from the specification and FH
    ’668 patent, claims 1, 8, 10, 15                                         cited above for the “mol % of the total lipid present in the
                                                                             particle” term)
    ’435 patent, claims 1, 4, 7, 8, 12
                                                                      ’378 patent FH:
    U.S. Patent Application No. 17/227,802, Claims (Apr. 12, 2021)
                                                                      • App., Spec., Claims, Abstract, Drawings (Apr. 12, 2021)
                                                                      • Non-Final Rejection (June 14, 2021)
    U.S. Patent Application No. 17/227,802, Non-Final Rejection (June
    14, 2021)                                                         • Amdt. & Resp., Claims (Aug. 20, 2021)
                                                                      • Notice of Allowance (Aug. 30, 2021)
    U.S. Patent Application No. 17/227,802, Interview Summary (Aug. • Interview (Aug. 3, 2021)
    9, 2021)
                                                                      Prov. App. No. 61/045,228
    U.S. Patent Application No. 17/227,802, Response to Office Action
    (Aug. 20, 2021)                                                   IPR2018-00739, Papers 2, 12, 15, 24, 28, 34, 41, 49, 50, 51,
                                                                      55, Exs. 1007, 1019, 1020, 1021, 1022, 2009, 2028, 2040;
                                                                      Appeal Briefing and Opinion

4
    In providing the following disclosures, Plaintiffs do not admit the status of any cited reference as intrinsic evidence.



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                                     “a cationic lipid having a protonatable tertiary amine”
                                                       (’378 Patent, Claim 1)
           Plaintiffs’ Proposal & Intrinsic Evidence 4                         Defendants’ Proposal & Intrinsic Evidence
U.S. Application No. 12/424,367, Claims (June 1, 2010)
                                                                       IPR2019-00554, Papers 1, 7, 8, 15, 21, 30, 39, 40, Exs. 1008,
U.S. Application No. 12/424,367, Non-Final Rejection (July 30,         1020, 1025, 2001, 2002, 2003, 2004, 2005, 2006, 2028, 2030,
2010)                                                                  2031, 2033, 2043; Appeal Briefing and Opinion

U.S. Application No. 12/424,367, Response to Office Action (Jan.
31, 2011)

U.S. Application No. 12/424,367, Non-Final Rejection (May 12,
2011)

U.S. Application No. 12/424,367, Response to Office Action
(August 11, 2011)

Petition for Inter Partes Review of U.S. Patent No. 8,058,069,
IPR2019-00554 (Jan. 9, 2019)

Petitioner’s Reply to Protiva’s Response, IPR2019-00554 (Mar. 2,
2020)

Declaration of Andrew S. Janoff, Ph.D. in Support of Moderna
Therapeutics, Inc.’s Petition for Inter Partes Review of U.S. Patent
No. 8,058,069, IPR2019-00554, Exhibit 1008, (Jan. 2, 2019)

Declaration of Thomas J. Anchordoquy, Ph.D. in Support of
Petitioner’s Reply to Patent Owner’s Response, IPR2019-00554,
Exhibit 1020 (Mar. 2, 2020)

Petition for Inter Partes Review of U.S. Patent No., 9,364,435,
IPR2018-00739 (Mar. 5, 2018)

Patent Owner’s Response, IPR2018-00739 (Dec. 21, 2018)


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                                     “a cationic lipid having a protonatable tertiary amine”
                                                       (’378 Patent, Claim 1)
           Plaintiffs’ Proposal & Intrinsic Evidence 4                     Defendants’ Proposal & Intrinsic Evidence

Petitioner’s Reply to Patent Owner Response, IPR2018-00739
(Mar. 22, 2019)

Patent Owner’s Sur-reply, IPR2018-00739 (Apr. 17, 2019)

Declaration of Andrew S. Janoff, Ph.D. in Support of Moderna
Therapeutics, Inc.’s Petition for Inter Partes Review of U.S. Patent
No. 9,364,435, IPR2018-00739, Exhibit 1007 (Mar. 5, 2018)

Declaration of Declaration of David H. Thompson, Ph.D. in Support
of Arbutus’s Opposition to Inter Partes Review of U.S. Patent No.
9,364,435, IPR2018-00739, Exhibit 2004 (Dec. 21, 2018)

Final Written Decision, IPR2018-00739 (Sep. 11, 2019)

ModernaTX, Inc. v. Arbutus Biopharma Corp., 18 F.4th 1352 (Fed.
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